                                                                   STATE OF MONTANA, COUNTY OF LAKE
                                                                   Recorded 04/30/2021 10:54
                                                                   Microfilm 588014 Katie Harding Recorder
                                                                   Fees $140.00 byJM Deputy


After Recording Return To:
UNITED WHOLESALE MORTGAGE, LLC
585 SOUTH BOULEVARD E
PONTIAC, Ml 48341
ATTN: POST CLOSING MANAGER
Loan Number: 1221401639




  ^J^Wf                             [Space Above This Line For Recording Data]


                                         DEED OF TRUST
            Trust Indenture Under the Small Tract Financing Act of Montana
MIN:100032412214016393                                                              MERS Phone: 888-679-6377

DEFINITIONS
Words used in multiple sections ofthis document are defined below and other words are defined in Sections 3,11,
13, 18, 20 and21. Certain rules regarding the usage ofwords used in this document are alsoprovided in Section 16.
      "Security Instrument" means this document, which is dated
(A)                                                                   APRIL 26, 2021                         , together
with all Riders to this document.
     "Borrower" is Candy Williams
(B)



Borrower is the trustor under this Security Instrument.
     "Lender" is United Wholesale Mortgage, LLC
(C)

Lender is a    LIMITED LIABILITY COMPANY                                                                    organized
and existing under the laws of MICHIGAN
Lender's address is 585 South Boulevard E, Pontiac, Michigan 48341


    "Trustee"is JASON J. HENDERSON, ESQ. MACKOFF KELLOGG LAW FIRM
(D)
38 SECOND AVE. E, DICKINSON, NORTH DAKOTA 58601
      "MERS" is the Mortgage Electronic Registration Systems, Inc. Lender has appointed MERS as the nominee
(E)
for Lender for this Loan, and attached a MERS Rider to this Security Instrument, to be executed by Borrower, which
further describes the relationship between Lender and MERS, and which is incorporated into and amends and
supplements this Security Instruroent.




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                                                                                                                      EXHIBIT

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      "Note" means the
(F)                    promissory note signed by Borrower and dated APRIL 26, 2021
The Note states that Borrower owes Lcnder TWO HUNDRED EIGHTY-FIVE THOUSAND AND 00/100
                                                           Dollars(U.S.$ 285,000.00                      ) plus interest.
Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not later than
 MAY 1, 2051                              . This Securitylnstrumentsecures 150% oftheamountoftheNote.
      "Property" means the                                                       "Transfer ofRights in the Property."
(G)                         property that is described below under the heading
      "Loan" means the debt evidenced by the Note,         uiterest, any
(H)                                                   plus               prepayment charges and late charges due under
the Note, and all sums due under this Security Instrument, plus interest.
      "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders are
(I)
to be executed by Borrower [check box as applicable]:

    Q    Adjustable Rate Rider              [~] PIanned Unit Development Rider
    Q    BalloonRider                       Q Biweekly Payment Rider
    Q    1-4 Family Rider                       Second Home Rider
    Q    Condommium Rider                       Other(s) [specify]
                                                M E R S RIDER




      "Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
(J)
administrative rules and orders (that have the effect of law) as well as all applicable fmal, non-appealable judicial
opmions.
      "Community Association Dues, Fces, and Assessments" means all dues, fees, assessments and other charges
(K)
that are imposed on Borrower or the Property by a condominium association, homeowners association or similar
organization.
      "Electronic Funds Transfer" means any transfer offunds, other than a transaction originated by check, draft,
(L)
or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or
magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such tenn
includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by
telephone, wire transfers, and automated clearinghouse transfers.
      "Escrow Items" means those items that are described in Section 3.
(M)
      "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or
(N)                                                                                                 proceeds paid by any
third party (other than insurance proceeds paid under thc covcrages described in Section 5) for: (i) damage to, or
destruction of, the Property; (ii) condemnation or other taking ofall or any part ofthe Property; (iii) convcyancc in
lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition ofthe Property.
      "Mortgage Insurance" means insurance
(0)                                              protecting Lender against the nonpayment of, or default on, the Loan.
      "Periodic Payment" means the regularly scheduled amount due for
(P)                                                                           (i) principal and interest under the Note,
plus (ii) any amounts under Section 3 of this Security Instrument.
      "RESPA" means the Real Estate Settlement Procedures Act
(Q)                                                                    (12 U.S.C. §2601 et seq.) and its implementing
regulation, Regulation X (12 C.F.R. Pan 1024), as they might be amended from time to time, or any additional or
successor legislation or regulation that govems the same subject matter. As used in this Security Instrument,
 "RESPA" refers to all requirements and restrictions that are imposed in regard to a "federally related mortgage loan"
even if the Loan does not qualify as a "federally related mortgage loan" under RESPA.
      "Successor in Interest of Borrower" means any
(R)                                                       party that has taken title to the Property, whether or not that
party has assumed Borrower's obligations under the Note and/or this Security Instrument.




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TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repaymcnt of the Loan, and all renewals, extensions and
modifications ofthe Note; and (ii) the performance ofBorrower's covenants and agreements under this Security
Instrument and the Note For this purpose, Borrower irrevocably grants and conveys to Trustee, in trust, with power
of sale, the following described property located in the
                        COUNTY                           of                               LAKE                                :
              [Type of Recording Jurisdiction]                              [Name of Recording Jurisdiction]
See Attached
A.P.N.: 3708-01-1-01-10-0000




which currently has the address of         11423 SPOTTED FAWN LN
                                                                           [Street]

                           BIGFORK                             , Montana         59911           ("Property Address"):
                               [City]                                             [Zip Code]

      TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also be
covered by this Security Instmment. All of the foregoing is referred to in this Security Instrument as the "Property."
      BORROWER COVENANTS that Borrower is iawfully seised of the estate hereby conveyed and has the right
to grant and convey the Property and that the Property is unencumbered, except for encumbrances of record.
Borrower warrants and will defend generally the title to the Property against all claims and demands, subject to any
encumbrances ofrecord.
      THIS SECURJTY DMSTRUMENT combines unifomi covenants for national use and non-uniform covenants with
limited variations by jurisdiction to constitute a uniform security instrument covering real property.

      UNIFORM COVENANTS. Borrower and Lender covenant aad agree as follows:
      1. Payment ofPrincipaI, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrowershall
pay when due the principal of, and interest on, the debt evidenced by the Notc and any prepaypient charges and late
charges due under the Note, Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due
under the Note and this Security Instrument shall be made in U.S. currency. However, if any check or other
instrument received by Lender as payment under the Note or this Security Instrument is retumed to Lender unpaid,
Lender may require that any or all subsequent payments due under the Note and this Security Instrument be made in
one or more ofthe following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
treasurer's check or cashier's check, provided any such check is drawn upon an institution whose deposits are insured
by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
      Payments are deemed received by Lender when received at the location designated in the Note or at such other
location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may retum
any payment or partial payment ifthe payment or partial payments are insufficient to bring the Loan current. Lender




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may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights
hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted. If each Periodic Payment is applied as of
its scheduled due date, then Lender need not pay interest on unapplied funds. Lcnder may hold such unapplied funds
until Borrower makes payment to bring the Loan current. IfBorrower does not do so within a reasonable period of
time, Lcnder shall either apply such funds or return them to Borrower. If not applied earlier, such funds will be
applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
which Borrower might have now or in the future against Lender shall relieve Borrower from making payments due
under the Note and this Security Instrument or perfonning the covenants and agrecments secured by this Security
Instmment.
      2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied in the following order ofpriority: (a) interest due under the Note;
(b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic
Payment in the order in which it became due. Any remaining amounts shall be applied first to late charges, second
to any other amounts due under this Security Instrument, and then to reduce the principal balance of the Note.
       If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late chargc due, the payment may be applied to the delinquent payment and the late charge- If
more than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the
repayment ofthe Periodic Payments if, and to the extent that, each payment can be paid in fall. To the extent that
any excess exists after the payment is applied to the full payment ofone or more Periodic Payments, such excess may
be applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and then
as described in the Note.
      Any application ofpayments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note
shall not extend or postpone the due date, or change the amount, ofthe Periodic Payments.
       3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
Note, until the Note is paid in full, a sum (the "Funds") to provide for payment ofamounts due for: (a) taxes and
assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance on the
Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for any and all insurance
required by Lender under Section 5; and (d) Mortgage Insurance premiums, ifany, or any sums payable by Borrower
to Lender in lieu ofthe payment ofMortgage Insurance premiums in accordance with the provisions of Secrion 10.
These items are called "Escrow Items." At origination or at any time during the term ofthe Loan, Lender may require
that Community Association Dues, Fees, and Assessments, ifany, be escrowed by Borrower, and such dues, fees and
assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid
under this Section. Borrower shall pay Lender the Funds for Escrow Ilems unless Lender waives Borrower's
obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender
Funds for any or all Escrow Items at any time. Any such waiver may only be in writing. In the event ofsuch waiver,
Borrower shall pay directly, when and wherc payablc, the amounts due for any Escrow Items for which payment of
Funds has been waived by Lender and, ifLender requires, shall fumish to Lender receipts evidencing such payment
within such time period as Lender may require. Borrower's obligation to make such payments and to provide receipts
shall for all purposes be deemed to be a covenant and agreement contained in this Security Instrument, as the phrase
 "covenant and agreement" is used in Section 9. IfBorrower is obligated to
                                                                              pay Escrow Items directly, pursuant to
a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section
9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount.
Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in accordance with Section
 15 and, upon such revocation, Borrower shall pay to Leader all Funds, and in such amounts, that are then required
under this Section 3.




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       Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds
at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA.
Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures
offuture Escrow Items or othei-wise in accordancc with Applicable Law.
       The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan
Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender
shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
thc Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make
such a charge. Unless an agreement is made in writing or Applicable Law requires interest to be paid on the Funds,
Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an
annual accounting ofthe Funds as required by RESPA.
       Ifthere is a surplus ofFunds held in escrow, as defined under RESPA, Lender shall account to Borrower for
the excess funds in accordance with RESPA. Ifthere is a shortage ofFunds held in escrow; as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the shortage in accordance with RESPA, but in no more than 12 monthly payments. Ifthere is a deficiency of
Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower
shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than
 12 monthly payments.
       Upon payment in full ofall sums secured by this Security Instnunent, Lender shall promptly refund to Borrower
any Funds held by Lender.
       4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to
the Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the
Property, ifany, and Community Association Dues, Fees, and Assessments, ifany. To the extent that these items
are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
       Borrower shall promptly discharge any lien which has priority over this Security Instniment unless Borrower:
(a) agrees in writing to the payment ofthe obligation secured by the lien in a manner acceptable to Lender, but only
so long as Borrower is perfoniiing such agreement; (b) contests the lien in good faith by, or defends against
enforcement ofthe lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien
while those proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder
of the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender
determines that any part ofthe Property is subject to a lien which can attain priority over this Security Instrument,
Lender may give Borrower a notice identifying the lien. Within 10 days ofthe date on which that notice is given,
Borrower shall satisfy the lien or take one or more ofthe actions set forth above in this Section 4.
       Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service
used by Lender in connection with this Loan.
       5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
 Property insured against loss by fire, hazards included within the term "extended coverage," and any other hazards
 including, but not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be
 maintained in the amounts (including deductible levels) and for the periods that Lender requires. What Lender
 requires pursuant to the preceding sentences can change during the term ofthe Loan. The insurance carrierproviding
 the insurance shall be chosen by Borrowersubject to Lender's right to disapprove Borrower's choice, which right shall
 not be exercised unreasonably. Lender may require Borrower to pay, in connection with this Loan, either: (a) a one-
 time charge for flood zone determination, certification and tracking services; or (b) a one-time charge for flood zone
 determination and certification services and subsequent charges each time remappings or similar changes occur which
 reasonably might aflect such determination or certification. Borrower shall also be responsible for the payment of




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any fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
determiaation resulting from an objection by Borrower.
      IfBorrower fails to maintain any ofthe coverages described above, Lender may obtain insurance coverage, at
Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount
ofcoverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's
equity in the Property, or the contents ofthe Property, against any risk, hazard or liability and might provide greatcr
or lesser coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so
obtained might significantly exceed the cost ofinsurance that Borrower could have obtained. Any amounts disbursed
by Lender under this Section 5 shall become additional debt ofBorrower secured by this Security Instrument. These
amounts shall bear interest at the Note rate from the date of disbursement and shall be payable, with such interest,
upon notice from Lender to Borrower requesting payment.
      All insurance policies required by Lender and renewals ofsuch policies shall be subject to Lender's right to
disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an
additional loss payee. Lender shall have the right to hold the policies and renewal certificates. IfLender requires,
Borrower shall promptly give to Lender all receipts ofpaid premiums and renewal notices. If Borrower obtains any
form ofinsurance coverage, not otherwise required by Lender, for damageto, or destruction of, the Property, such
policy shall include a standard mortgage clause and shall name Lender as mongagee and/or as an additional loss
payee.
      In the event ofloss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make
proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any
insurance proceeds, whether or aot the underlying insurance was required by Lender, shall be applied to restoration
or repair ofthe Property, ifthe restoration or repair is economically feasible and Lender's security is not lessened.
During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender
has had an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and
restoration in a single payment or in a series of progress payments as the work is completed. Unless an agreement
is made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower.
Ifthe restoration or rcpair is not economically feasible or Lender's security would be lessened, the insurance proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, ifany, paid
to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
      If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has
offered to settle a claim, then Lender may negotiate and settle the claim. Tlie 30-day period will begin when the
notice is given. In either event, or ifLender acquires the Property under Section 22 or otherwise, Borrower hereby
assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
under the Note or this Security Instrument, and (b) any other ofBorrower's rights (other than the right to any refund
of uneamed premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
are applicable to the coverage of the Property. Lender may use the insurance proceeds either to repair or restore the
Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.
      6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
within 60 days after the execution ofthis Security Instrument and shall continue to occupy the Property as Borrower's
principal residence for at least one year after the date ofoccupancy, unless Lender otherwise agrees in writing, which
consent shall not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's
control.




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       7. Preservation, Maintenance and Protcction of the Property; Inspections. Borrower shall not destroy,
damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not
Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or
restoration is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid further
deterioration or damage. Ifinsurance or condemnation proceeds arepaid in connection with damage to, or the taking
of, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has released
proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in
a series ofprogress payments as the work is completed. Ifthe insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved ofBorrower's obligation for the completion ofsuch repair
or restoration.
       Lender or its agent may make reasonable entries upon and inspections ofthe Property. Ifit has reasonable cause,
Lender may inspect the interior ofthe improvements on the Property. Lender shall give Borrower notice at the time
ofor pn'or to such an interior inspection specifying such reasonable cause.
       8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction ofBorrower or with Borrower's knowledge or consent gave
materially false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender with
material information) in connection with the Loan. Material representations include, but are not limited to,
representations concerning Borrower's occupancy ofthe Property as Borrower's principal residence.
       9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a)
Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal
proceeding that might significantly affect Lender's interest in the Property and/or rights under this Security Instrument
(such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may
anain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the
Property and rights under this Security Instrument, including protecting and/or assessing the value of the Property,
and securing and/or repairing the Property. Lender's actions can include, but are not limited to: (a) paying any sums
 secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable
attomeys' fees to protect its intercst in the Property and/or rights under this Security Instrument, including its secured
position in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to
make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action
 under this Sectioa 9, Lender does not have to do so and is not under any duty or obligation to do so. It is agreed that
 Lcndcr incurs no liability for not taking any or all actions authorized under this Section 9.
       Any amounts disburscd by Lender under this Section 9 shall become additional debt ofBorrower secured by this
 Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall bc
payable, with such interest, upon notice from Lender to Borrower requesting payment.
        If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
 Borrower shall not surrender the leasehold estate and interests herein conveyed or terminate or cancel the ground lease.
 Borrower shall not, without the express written consent of Lender, alter or amend the ground lease. If Borrower
 acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger
 in wntmg.
        10. Mortgage Insurance. IfLender required Mortgage Insurance as a condition ofmaking the Loan, Borrower
 shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgagc
 Insurance coveragc required by Lender ceases to be available from the mortgage insurer that previously provided such
 insurance and Borrower was required to make scparately designated payments toward the premiums for Mortgage
 Insurance, Borrower shall pay the premiums required to obtain coverage substantially equivalent to the Mortgage




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Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance
previously in effect, from an altemate mortgage insurer selected by Lender. If substantially equivalent Mortgage
Insurancc coverage is not available, Borrower shall continue to pay to Lender the amount ofthe separately designated
payments that were due whcn thc insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu ofMortgage Insurance. Such loss reserve shall be non-refundable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any
interest or earnings on such loss reserve. Lender can no longer require loss reserve payments ifMortgage Insurance
coverage (in the amount and for the period that Lender requires) provided by an insurer selected by Lender again
becomes available, is obtained, and Lender requires separately designated payments toward the premiums for
Mortgage Insurance. IfLender required Mortgage Insurance as a condition ofmaking the Loan and Borrowerwas
required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay
the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until
Lender's requirement for Mortgage Insurance ends in accordance with any written agreement between Borrower and
Lender providing for such termination or until tennination is required by Applicable Law. Nothing in this Section
 10 affects Borrower's obligation to pay interest at the rate provided in the Note. Mortgage Insurance reimburses
Lender (or any entity that purchases the Note) for certain losses it may incur if Borrower does not repay the Loan as
agreed. Borrower is not a party to the Mortgage Insurance.
       Mortgage Insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These
agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer
may have available (which may include funds obtained from Mortgage Insurance premiums).
       As a result of these agreements, Lender, any purchaser ofthe Note, another insurer, any reinsurer, any other
entity, or any affiliate ofany ofthe foregoing, may receive (directly or indirectly) amounts that derive from (or might
be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying
the mortgage insurer's risk, or reducing losses. Ifsuch agreement provides that an affiliate ofLender takes a share
of the insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed
"captive reinsurance." Further:
       (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe
for Mortgage Insurance, and they will not entitle Borrower to any refund.
       (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage
Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may include the right
to receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the
Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance premiums
that were unearned at the time of such cancellation or termination.
       11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds arehereby assigned to
and shall be paid to Lender.
       Ifthe Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair ofthe Property,
ifthe restorarion or repair is economically feasible and Lender's security is not lessened. During such repair and
restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that
such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement
or in a series ofprogress payments as the work is completed. Unless an agreement is made in writing or Applicable
Law requires interest to bc paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
 interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or
 Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to the sums securedby this Security




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Instrument, whether or not then due, with the excess, ifany, paid to Borrower. Such Miscellaneous Proceeds shall
be applied in the order provided for in Section 2.
       In the event ofa total taking, destruction, or loss in value ofthe Property, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument, whether or not then due, with the excess, ifany, paid to
Borrower.
       In the event ofa partial taking, destruction, or loss in value of the Property in which the fair markct value of
the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amouni
of the sums secured by this Security Instrument immediately before the partial taking, destruction, or loss in value,
unless Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced
by the amount ofthe Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount ofthe sums
secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value ofthe
Property immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
       In the event of a panial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums
secured immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instnunent whether
or not the sums are then due.
       If the Property is abandoned by Borrower, or if, after notice by Lender to Borrowcr that the Opposing Party (as
defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to
Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous
Proceeds either to restoration or repair ofthe Property or to the sums secured by this Security Instrument, whether
or not then due. "Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party
against whom Borrower has a right ofaction in regard to Miscellaneous Proceeds.
       Borrower shall be in default ifany action or proceeding, whether civil or criminal, is begun that, in Lender's
judgment, could result in forfeiture ofthe Property or other material impairment ofLender's interest in the Property
or rights under this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate
as provided in Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's
judgment, precludes forfeiture ofthe Property or other material impairment ofLender's interest in the Property or
 rights under this Security Instrument. The proceeds of any award or claim for damages that are attributable to the
 impairment of Lender's interest in the Property are hereby assigned and shall be paid to Lender.
       All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the
order provided for in Section 2.
        12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
 modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
 Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest
of Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of Borrower
 or to rcfusc to extend time for payment or otherwise modify amortization of the sums secured by this Security
 Instrument by reason ofany demand made by the original Borrower or any Successors in Interest ofBorrower. Any
 forbearance by Lender in exercising any right or remedy including, without limitation, Lender's acceptance of
 payments from third persons, entities or Successors in Interest of Borrower or in amounts less than the amount then
 due, shall not be a waiver ofor preclude the exercise ofany right or remedy.
        13. Joint and Several Liability; Co-signers; Successurs and Assigns Bound. Borrower covenants and agrees
 that Borrower's obligations and liability shall bejoint and several. However, any Borrower who co-signs this Security
 Instrument but does not execute the Note (a "co-signer"): (a) is co-signing fhis Security Instrument only to mortgage,
 grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
 personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any other




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Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
Instrument or the Note without the co-signer's consent.
      Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instmment in writing, and is approved by Lender, shall obtain all ofBorrower's rights
and benefits under this Security Instrument. Borrower shall not be released from Borrowcr's obligations and liability
under this Security Instrument unless Lender agrees to such release in writing. The covenants and agreements ofthis
Security Instrument shall bind (except as provided in Section 20) and benefit the successors and assigns ofLender.
      14. Loan Charges. Lender may charge Borrower feesfor services performed in connection with Borrower's
default, for the purpose ofprotecting Lender's interest in the Property and rights under this Security Instrument,
including, but not limited to, attomeys' fees, property inspection and valuation fees. In regard to any other fees, the
absence of express authority in this Security Instrumcnt to charge a specific fee to Borrower shall not be construed
as a prohibition on the eharging of such fee. Lender may not charge fees that are expressly prohibited by this Security
Instrument or by Applicable Law.
      Ifthe Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits,
then: (a) any such loan charge shall be reduced by thc amount necessary to reduce the charge to the permitted limit;
and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower.
Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct payment
to Borrower. If a refund reduces principal, the reductioa will be treated as a partial prepayment without any
prepayment charge (whether or not a prepayment charge is provided for under the Note). Borrower's acceptance of
any such refund made by direct payment to Borrower will constitute a waiver ofany right ofaction Borrower might
have arising out of such overcharge.
      15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be m
writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have been givea to
Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other
means. Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires
othenvise. The notice address shall be the Property Address unless Borrower has designated a substitute notice
address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change of address. If Lender
specifies a procedure for reporting Borrower's change ofaddress, then Borrower shall only report a change ofaddress
through that specified procedure. There may be only one designated notice address under this Security Instrument
at any one time. Any notice to Lender shall be given by delivering it or by mailing it by first class mail to Leader's
address stated herein unless Lender has designated another address by notice to Borrower. Any notice in connection
with this Security Instrument shall not be deemed to have been given to Lender until actually received by Lender.
If any notice required by this Security Instrument is also required under Applicable Law, the Applicable Law
requirement will satisfy the corresponding requirement under this Security Instrument.
       16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be govemed by
federal law and the law ofthejurisdiction in which the Property is located. All rights and obligations contained in
this Security Instrument are subject to any requirements and limitations ofApplicable Law. Applicable Law might
explicitly or implicitly allow the parties to agree by contract or it might be silent, but such silence shall not be
construed as a prohibition against agreement by contract. In the event that any provision or clause of this Security
Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other provisions ofthis Security
Instrument or the Note which can be given effect without the conflicting provision.
       As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding
neuter words or words ofthe feminine gender; (b) words in the singular shall mean and include fhe plural and vice
versa; and (c) the word "may" gives sole discretion without any obligation to take any action.
       17. Borrower's Copy. Borrower shall be given one copy ofthe Note and ofthis Security Instrument.




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       18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest m
the Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
jnterests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent
ofwhich is thc transfer oftitle by Borrower at a future date to a purchaser.
       If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrowcr is not a
natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent,
Lender may require immediate payment in full ofall sums secured by this Security Instrumenl. However, this option
shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
       If Lender exercises this option, Lender shall give Borrower notice ofacceleration. The notice shall provide a
period ofnot less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower
must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of
this period, Lender may invoke any remedies permitted by this Security Instrumcnt without further notice or demand
on Borrower.
       19. Borrower's Right to Reinstate After Acceleration. IfBorrower meets certain conditions, Borrower shall
have the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a)
five days before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such
other period as Applicable Law might specify for the termination ofBorrower's right to reinstate; or (c) entry ofa
judgment enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which
then would be due under this Security Instrument and the Note as ifno acceleration had occurred; (b) curcs any default
ofany other covenants or agreements; (c) pays all expenses incurred in enforcing this Security Instrument, mcluding,
but not limited to, reasonable attomeys' fees, property inspection and valuation fees, and other fees incurred for the
purpose ofprotecting Lender's interest in the Property and rights under this Security Instrument; and (d) takes such
action as Lender may reasoaably require to assure that Lender's interest in the Property and rights under this Security
Instrument, and Borrower's obligation to pay the sums securedby this Security Instrument, shall continue unchanged.
Lender may require that Borrower pay such reinstatement sums and expenses in one or more ofthe following forms,
as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,
provided any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
 or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations
 secured hereby shall remain fally effective as if no acceleration had occurred. However, this right to reinstate shall
 not apply in the case of aceeleration under Section 18.
       20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note
 (together with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might
 result in a change in the entity (known as Ae "Loan Servicer") that collects Periodic Payments due under the Note
 and this Security Instrument and performs other mortgage loan servicmg obligations under the Note, this Security
 Instrument, and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to a sale
 ofthe Note. Ifthere is a change ofthe Loan Servicer, Borrower will be given written notice ofthe change which will
 state the name and address of the ncw Loan Scrvicer, the address to which payments should be made and any other
 information RESPA requires in connection with a notice oftransfer ofservicing. Ifthe Note is sold and thereafter
 the Loan is serviced by a Loan Servicer other than the purchaser ofthe Note, the mortgage loan servicing obligations
 to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed
 by the Note purchaser unless otherwise provided by the Note purchaser.
        Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual
 litigant or the member ofa class) that arises from the other party's actions pursuant to this Security Instrument or that
 alleges that the other party has breached any provision of, or any duty owed by reason of, this Security Instrument,
 until such Borrower or Lender has notified the other party (with such notice given in compliance with the requirements
 ofSection 15) ofsuch alleged breach and afforded the other party hereto a reasonable period after the giving ofsuch
 notice to take corrcctive action. If Applicable Law provides a time period which must elapse before certain actioa




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can be taken. that time period will be deemed to be reasonable for purposes of this paragraph.                      notice of
acceleration and opportunity to cure given to Borrower pursuant to Secrion 22 and the notice of acceleration given
to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective action provisions
ofthis Section 20.
      21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are thosc substances
defmed as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances:
gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents,
materials containing asbestos or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal
laws and laws ofthejurisdiction where the Property is located that relate to health, safety or environmental protection;
    "Environmental CIeanup" includes any response action, remedial action, or removal action, as defined in
(c)
Environmental Law; and (d) an "Environmental Condition" means a condition that can cause, contribute to, or
otherwise trigger an Environmental CIeanup.
      Borrower shall not cause or permit the presence, use, disposal, storage, or release ofany Hazardous Substances,
or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else
to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an
Environmental Condition, or (c) which, due to the presence, use, or releasc of a Hazardous Substance, creates a
condition that adversely affects the value of the Property. The preceding two sentences shall not apply to the
presence, use, or storage on the Property of small quantities of Hazardous Substances that are generally recognized
to be appropriate to normal residential uses and to maintenance of the Property (including, but not limited to,
hazardous substances in consumer products).
      Borrower shall promptly give Lender written notice of(a) any investigation, claim, demand, lawsuit or other
action by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance
or Environmental Law ofwhich Borrower has actual knowledge, (b) any Environmental Condition, including but not
limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
condition caused by the presence, use or release ofa Hazardous Substance which adversely affects the value ofthe
Property. IfBorrower learas, or is notified by any govemmental or regulatory authority, or any private party, that
any removal or other remediation ofany Hazardous Substance affecting the Property is necessary, Borrower shall
promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein shall create any
obligation on Lender for an Environmental Cleanup.

      NON.UNIFORM COVENANTS. Borrower and Lender ftirther covenant and agree as follows:
      22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach ofany covenant or agreement in this Security Instrument (but not prior to acceleration under
Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action
required to cure the default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by
which the default must be cured; and (d) that failure to cure the default on or before the date specified in the
notice may result in acceleration ofthe sums secured by this Sccurity Instrument and sale ofthe Property. The
notice shall further inform Borrower of the right to reinstate after acceleration and the right to bring a court
action to assert the non-existence of a default or any other defense of Borrower to acceleration and sale. If the
default is not cured on or before the date specified in the notice, Lender at its option may requirc immediate
payment in full of all sums secured by this Security Instrument without further demand and may invoke the
power of sale and any other remedies permitted by Applicable Law. Lender shall be entitled to collect all
expenses incurred in pursuing the remedies provided in this Section 22, including, but not limited to, reasonable
attorneys' fees and custs of title evidence.
      If Lender invokes the power of sale, Lender shall give written notice to Trustee of the occurrence of an
event of default and of Lender's election to cause the Property to be sold. Lender or Trustee shall record a
notiee of sale in each county in which any part of the Property is located, and Trustee shall mail copies of the




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notice as prescribed by Applicable Law to Borrower and to the other persons prescribed by Applicable Law.
After the time required by Applicable Law and after publication and posting of the notice of sale, Trustee,
without demand on Borrower, shall sell the Property at public auction to the highest bidder at the time and
place and under the terms designated in the notice of sale in one or more parcels and in any order Trustee
determines. Trustee may postpone sale of all or any parcel of the Property by public announcement at the time
and place of any previously scheduled sale. Lender or its designee may purchase the Property at any sale.
      Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any covenant or
warranty, expressed or implied. The recitals in the Trustee's deed shall be prima facie evidence of the truth
of fhe statements made therein. Trustee shall apply the proceeds of the sale in the following order: (a) to all
expenses of the sale, including, but not limited to, reasonable Trustee's and attorneys' fees; (b) to all sums
secured by this Security Instrument; and (c) any excess to the person or persons legally entitled to it or to the
clerk or recorder ofthe county in which the sale took place.
      23. Reconveyance. Upon payment ofall sums securedby this Security Instrument, Lendershall request Trustee
to reconvey the Property and shall surrender this Security Instrument and all notes evidencing debt secured by this
Security Instrument to Trustee. Trustee shall reconvey the Property without warranty to the person or persons legally
entitled to it. Such person or persons shall pay any recordation costs. Lender may charge such person or persons a
fee for reconveying the Property, but only if the fee is paid to a third party (such as the Trustee) for services rendered
and the charging ofthe fee is permitted under Applicable Law.
       24. Substitute Trustee. Lender, at its option, may from time to time remove Tmstee and appoint a successor
trustee to any Trustee appointed hereunder. Without conveyance ofthe Property, the successor trustee shall succeed
to atl the title, power and duties conferred upon Trustee herein and by Applicable Law.
       25. Area ofProperty. The area ofthe Property is not morc than 40 acres.
       26. Waiver of Homestead Exemption Rights. In conformance with the provisions of § 70-32-202, M.C.A.,
this transaction involving a mortgage upon real property for purposes ofsecuring a debt on premises, as subject
hereto, andexecuted and acknowledged by the husband and wife, or by an unmarriedperson, the undersigned grantors
have by separate written waiver, which waiver is incorporated herein by this reference, waived, renounced and
abandoned for themselves and their family, any and all homestead exemption rights or other exemption law now or
subsequently enforced within the State ofMontana, or any other state or territory wherejudgment may be entered by
virtue ofthis agreement or in the event ofasale pursuant to the provisions ofthe Montana Small Tract Financing Act.




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      BY SIGNING BELOW, Borrower accepts and agrees to the tenns and covenants contained in this Security
Instrument and in any Rider executed by Borrower and recorded with it.




                                          .(Scal)
 :andy Williams                       -Borron'er




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                                        [Space Below This Line For Acknowledgment]



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     This record was acknowledged before me on           /t'^*'* '—Z-t^   l
                                                                     —7-0^.,
                                                                                     (date)


by   Candy Williams




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                      NOTARYPUBUCforthe
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                      December 15, 2022
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                   (Official Stamp)                               My commission expires: fO^-S^




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 MIN: 100032412214016393                                                  Loan Number: 1221401639

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. RIDER
                                            (MERS Rider)

     THIS MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, FNC. RIDER ("MERS Rider") is
made this 26th     day of APRIL, 2021                           , and is incorporated into and amends and
supplements the Deed of Trust (the "Security Instrument") of the same date given by the undersigned
     "Borrower," whether there are one or more
(the                                                persons undersigned) to secure Borrower's Note to
UNITED WHOLESALE MORTGAGE, LLC
("Lendcr") ofthe same date and covering the Property described in the Security Instrument, which is located
at:

                   11423 SPOTTED FAWN LN, BIGFORK, MONTANA 59911
                                   [Property Address]

In addition to the covenants and agreements made in the Security Instrument, Borrower and Lender further
covenant and agree that the Security Instrument is amended as follows:

A.   DEFINITIONS
     1. The Definitions section ofthe Security Instrument is amended as follows:

         "Lender"is United Wholesale Mortgage, LLC
Lenderisa LIMITED LIABILITY COMPANY                               organized and existing under the laws of
MICHIGAN                                                                              . Lender's address is
585 South Boulevard E, Pontiac, Michigan 48341

Lender is the beneficiary under this Security Instrument. The term "Lender" includes any successors and
assigns of Lender.

         "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that
is the Nominee for Lender and is acting solely for Lendcr. MERS is organized and existing under the laws
ofDelaware, and has an address and telephone number of P.0. Box 2026, Flint, MI 48501-2026, tel. (888)
679-MERS. MERS is appointed as the Nominee for Lender to exercise the rights, duties and obligations of
Lender as Lender may from time to time direct, including but not limited to appointing a successor trustee,
assigning, or releasing, in whole or in part this Security Instrument, foreclosing or directing Trustee to
institute foreclosure ofthis Security Instrument, or taking such other actions as Lender may deem necessary
or appropriate under this Security Instrument. The term "MERS" includes any successors and assigns of
MERS. This appointment shall inure to and bind MERS, its successors and assigns, as well as Lender, until
MERS' Nominee interest is terminated.

      2. The Definitions section of the Security Instrument is further amended to add the following
definition:
         "Nominee" means one designated to act for another as its representative for a limited
                                                                                                   purpose.




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B.   TRANSFER OF RIGHTS IN THE PROPERTY
     The Transfer ofRights in the Property section ofthe Security Instrument is amended to read as follows:

      This Security Instrument secures to Lender: (i) the repayment ofthe Loan, and all renewals, extensions
and modifications ofthe Note; and (ii) the performance ofBorrower's covenants and agreements under this
Security Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to Trustee,
in trust, with power ofsale, the following described property located in the
                       COUNTY         of LAKE                                                     :
           [Type of Recording Jurisdiction]                     [Name of Recording Jurisdiction]
See Attached
A.P.N.: 3708-01-1-01-10-0000




which currently has the address of 11423 SPOTTED FAWN LN

                                                       [Street]

 BIGFORK                                   MONTANA                59911                ("Propeny Address"):
     [City]                                 [State]               [Zip Code]

     TOGETHER WITH all the improvements now or hercafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part ofthe property. AI1 replacements and additions shall also
be covered by this Security Instrument. All ofthe foregoing is referred to in this Security Instrument as the
"Property."

      Lender, as the beneficiary under this Security Instrument, designates MERS as the Nominee for Lender.
Any notice required by Applicable Law or this Security Instrument to be served on Lender must be served
on MERS as the designated Nominee for Lender. Borrower understands and agrees that MERS, as the
designated Nominee for Lender, has the right to exercise any or all interests granted by Borrower to Lender,
including, but not limited lo, the right to foreclose and sell the Property; and to take any action required of
Lender including, but not limited to, assiguing and releasing this Security Instrument, and substituting a
successor tmstee.

C.   NOTICES
     Section 15 ofthe Security Instrument is amended to read as follows:

      15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have
been given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice
address ifsent by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless
Applicable Law expressly requires otherwise. The notice address shall be the Property Address unless


MERS RIDER - Single Famil)                                                                    DocMsglce^assaas
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Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender ofBorrower's change ofaddress. IfLender specifies a procedure forreporting Borrower's change
ofaddress, then Borrower shall only repon a change ofaddress through that specified procedure. There may
be only one designated notice address under this Security Instrument at any one time. Any notice to Lender
shall be given by delivering it or by mailing it by first class mail to Lender's address stated herein unless
Lender has designated another address by notice to Borrower. Borrower acknowledges that any notice
Borrower provides to Lender must also be provided to MERS as Nominee for Lender until MERS' Nominee
interest is terminated. Any notice provided by Borrower in connection with this Security Instrument will not
be deemed to have been given to MERS until actually received by MERS. Any notice in connection with this
Security Instrument shall not be deemed to have been given to Lender until actually received by Lender. If
any notice required by this Security Instrument is also required under Applicable Law, the Applicable Law
requirement vvill satisfy the corresponding requirement under this Security Instrument.

D.   SALE OF NOTE; CHANGE OF LOAN SERVICER; NOTICE OF GRIEVANCE
     Section 20 ofthe Security Instrument is amended to read as follows:

      20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in
the Note (together with this Security Instrument) can be sold onc or more times without prior noticc to
Borrower. Lender acknowledges that until it directs MERS to assign MERS's Nominee interest in this
Security Instrument, MERS remains the Nominee for l.ender, with the authority to exercise the rights of
Lender. A sale might result in a change in the entity (known as the "Loan Servicer") that collects Periodic
Payments due under ths Note and this Security Instrument and performs other mortgage loan servicing
obligations under the Note, this Security Instrument, and Applicable Law. There also might be one or more
changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer,
Borrower will be given written notice ofthe change which will state the name and address ofthe new Loan
Servicer, the address to which payments should be made and any other information RESPA requires in
connection with a notice oftransfer ofservicing. Ifthe Note is sold and thereafter the Loan is serviced by
a Loan Servicer other than the purchaser ofthe Note, the mortgage loan servicing obligations to Borrower
will remain with the Loan Servicer or be transferred to a successor Loan Servicer andare not assumed by
the Note purchaser unless otherwise provided by the Note purchaser.

      Neither Borrower nor Lender may commence, join, or bejoined to anyjudicial action (as either an
individual litigant or the memberofa class) that arises from the other party's actions pursuant to this Security
Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of,
this Security Instrument, until such Borrower or Lender has notified the other party (with such notice given
in compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto
a reasonable period after the giving ofsuch notice to take corrective action. IfApplicable Law provides a
time period which must elapse before certain action can be taken, that time period will be deemed to be
reasonable for purposes of this paragraph. The notice of acceleration and opportunity to cure given to
Borrower pursuant to Section 22 and the notice ofacceleration given to Borrower pursuant to Section 18 shall
be deemed to satisfy the notice and opportunity to take corrective action provisions ofthis Section 20.




MERS RIDER - Single Family                                                                      DocMagic ei^astsms
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E.   SUBSTrTUTE TRUSTEE
     Section 24 ofthe Security Instrument is amended to read as follows:

     24. Substitute Trustee. In accordance with Applicable Law, Lender or MERS may from time to time
appoint a successor trustee to any Trustee appointed hereunder who has ceased to act. Without conveyance
ofthe Property, the successor trustee shall succeed to all the title, power and duties conferred upon Trustce
herein and by Applicable Law.

   BY SIGNING BELOW, Borrower accepts and agrees to the tenns and covenants contained m fhis
MERS Rider.




     M^M^y^^
Candy Williams
                                           .(Seal)
                                        -Borrower




MERS RIDER - Single Family                                                                  OBclhglBfftenBn
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Date: April 22, 2021                                     RteNo.: 972471-FT (tmj)

                                  EXHIBTT'A'

LEGAL DESCRIFnON:

A PORTION OF THE N1^SW1/4NE'A OF SECTION 1, TOWNSHIP 26 NORTH, RANGE 19 WEST,
P.M.M., LAKE COUNTY, MONTANA, FURTHER SHOWN AND DESCRIBED AS BEING TRACT-A
ON CERTIFICATE OF SURVEY N0. 4662, ON FILE IN THE OFFICE OF THE CLERK AND
RECORDER OF LAKE COUNTV, MONTANA.




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